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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

ATLANTIC SPECIALTY INSURANCE              *
COMPANY and EXCESS UNDERWRITERS           *
SUBSCRIBING SEVERALLY TO POLICY           *
NO. TMU-407387                            *               CIVIL ACTION NO. 17-9318
                                          *
versus                                    *                     JUDGE
                                          *
PHILLIPS 66 COMPANY                        *
__________________________________________/



                   COMPLAINT FOR DECLARATORY JUDGMENT

       COME NOW, through undersigned counsel, plaintiffs, Atlantic Specialty

Insurance Company (“Atlantic Specialty”) and certain underwriters subscribing severally

to excess policy no. TMU-407387 (“Excess Underwriters”) (collectively, “Underwriters”

or “Plaintiffs”), who, with a full reservation of rights and defenses, respectfully allege as

follows:

                                             1.

       Plaintiff, Atlantic Specialty Insurance Company, is a New York corporation with

its principal place of business in Plymouth, Minnesota.

                                             2.

       Plaintiffs, Excess Underwriters, are foreign entities licensed to do business and

doing business in this jurisdiction.

                                             3.

       Defendant, Phillips 66 Company, is a Delaware corporation with its principal



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place of business in Houston, Texas.

                                           4.

       This is an action for declaratory judgment brought pursuant to 28 U.S.C. §§ 2201 -

2202 and Fed R. Civ. P. 57.

                                           5.

       This matter arises within the diversity jurisdiction of this Honorable Court

pursuant to 28 U.S.C. § 1332. The Plaintiffs and the Defendants are citizens of different

states, and the amount in controversy exceeds the statutory minimum.

                                           6.

       Venue is proper in this Honorable Court under 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the underlying personal-injury lawsuits

occurred in this district.

                                           7.

       An actual controversy exists between the parties with respect to a demand for

contractual defense, indemnity, and insurance coverage made by Phillips 66 Company

against Underwriters’ insured, Blanchard Contractors, stemming from personal-injury

claims made against Phillips 66 Company, and others, in another proceeding.

                                           8.

       On or about November 17, 2016, Blanchard Contractors and Phillips 66 Company

entered into a Master Services Agreement (“the MSA”).




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                                              9.

       Article 18.1.2 of the Master Services Agreement purportedly obligates Blanchard

Contractors to indemnify Phillips 66 Company and its affiliates from and against liability

up to $10 million for claims made by employees of Blanchard Contractors for personal

injury, regardless of the fault of the indemnitee.

                                              10.

       Article 19.1.3 of the Master Services Agreement states that Blanchard Contractors

was obligated to obtain commercial general liability insurance, including contractual

liability coverage, with a limit of not less than $1 million.

                                             11.

       Article 19.1.4 of the Master Services Agreement states that, to the extent of the

risk and liabilities assumed by Blanchard Contractors in the Agreement, any insurance

policy obtained pursuant to the requirements of Article 19.1.3 shall include the

indemnitees as additional assured.

                                             12.

       On or about February 9, 2017, an explosion and fire occurred on a natural gas

pipeline and surrounding property near the “Williams Discovery” plant in Paradis,

Louisiana. On information and belief, the natural-gas transmission pipeline is owned

and/or operated by Phillips 66.

                                             13.

       Desmond Calloway, an employee of Blanchard Contractors, filed suit against inter


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alia Phillips 66 Company on June 23, 2017 in the District Court of Harris County, Texas,

Civil Action Number 2017-42198, alleging that he sustained personal injuries, including

severe burns, while performing maintenance on the natural-gas pipeline at the time of the

explosion and fire.

                                          14.

       On June 28, 2017, Jacob Jambon, also an employee of Blanchard Contractors,

intervened in Desmond Calloway’s suit, and asserted claims for personal injuries,

including severe burns, which he alleges to have incurred while also performing

maintenance on the pipeline on February 9, 2017.

                                          15.

       Phillips 66 Company tendered the defense of the Calloway and Jambon claims to,

and demanded indemnification from, Blanchard Contractors based on the indemnity and

insurance provisions of the Master Services Agreement.

                                          16.

       Blanchard Contractors in turn presented the Phillips 66 Company’s claims to

Underwriters.

                                          17.

       Atlantic Specialty issued Policy No. B5JH9075516 to Blanchard Contractors,

which policy was in effect on February 9, 2017, subject to its terms, conditions, and

limitations.




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                                            18.

       Excess Underwriters issued Policy No. TMU-407387 to Blanchard Contractors,

which policy was in effect on February 9, 2017, subject to its terms, conditions, and

limitations.

                                            19.

       Under La. R. S. 9:2780.1, with respect to the explosion and fire at the Paradis

pipeline facility on or about February 9, 2017 and claims arising therefrom, the indemnity

and additional-insured provisions in the MSA are void and unenforceable in whole or

part and are contrary to the public policy of Louisiana.

                                            20.

        Even if Phillips 66 were an additional insured under the policies, which is denied,

the policies also do not provide coverage for punitive damages asserted by the personal-

injury plaintiffs against Phillips 66.

                                            22.

       Plaintiffs seek a declaration that the indemnity and additional-insured provisions

in the MSA are void and unenforceable; that Blanchard Contractors is not contractually

obligated to defend, indemnify, procure insurance, or add Phillips 66 as additional

insureds on the insurance policies at issue; and that Phillips 66 is not an additional

insured on the insurance policies issued by Plaintiffs.

       WHEREFORE, Plaintiffs respectfully pray that:

       A)      The Court enter judgment in favor of Plaintiffs, declaring that the


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            indemnity and insurance obligations in the Master Services Agreement are
            null and void by law with respect to the explosion and fire at the Paradis
            pipeline facility on or about February 9, 2017 and claims arising therefrom;

      B)    The Court enter judgment, declaring that Plaintiff’s insured, Blanchard
            Contractors, is not obligated to defend, indemnify, procure insurance for, or
            add Phillips 66 as additional insured on the insurance policies issued by
            Plaintiffs to Blanchard;

      C)    The Court enter judgment declaring that Phillips 66 is not an additional
            insured on the insurance policies issued by Plaintiffs to Blanchard; and

      D)    Plaintiffs be granted such other relief as the Court deems just and proper.




                                        Respectfully submitted,

                                        HARRIS & RUFTY, L.L.C.

                                         /s/ Alfred J. Rufty III
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